Leigh Quirk, Sr. Acct. Planner The Communications Group 400 W. Capitol, Ste. 1391 Little Rock, AR 72201
Dear Ms. Quirk:
You have requested approval, pursuant to the Interlocal Cooperation Act (A.C.A. § 25-20-101 et seq.), of a proposed interlocal agreement between the Arkansas Department of Human Services — Division of Medical Services, and the Memphis and Shelby County Health Department.
You have submitted a copy of the agreement, under the terms of which the parties agree generally to cooperate in the continued operation of an outreach program to encourage early and continuous prenatal care (known as "the Campaign for Healthier Babies"), specifically by gaining access to the electronic media and other material production efficiencies that are made possible through a cooperative project.
The Interlocal Cooperation Act requires that interlocal agreements for joint or cooperative action specify the following items:
(1) The duration of the agreement;
(2) The purposes of the agreement;
  (3) The manner of financing the joint or cooperative undertaking and of establishing and maintaining a budget for it;
  (4) The methods of accomplishing termination of the agreement and for the disposal of property, if any, upon termination;
(5) Any other necessary and proper matters.
A.C.A. § 25-20-104(c).
In addition, if the interlocal agreement does not establish a separate legal entity to conduct the joint or cooperative undertaking, it must specify the following items:
  (1) The provision for an administrator or a joint board that will be responsible for administering the joint or cooperative undertaking;
  (2) The manner of acquiring, holding, and disposing of real and personal property, if any, used in the joint or cooperative undertaking.
A.C.A. § 25-20-104(d).
The agreement that you have submitted must specify all of the above-listed items.
Having analyzed the agreement between the Arkansas Department of Human Services — Division of Medical Services, and the Memphis and Shelby County Health Department under the requirements of the Interlocal Cooperation Act, I find that the agreement meets those requirements, and it is therefore hereby approved in its current form.1
Assistant Attorney General Suzanne Antley prepared the foregoing opinion, which I hereby approve.
Sincerely,
MARK PRYOR Attorney General
1 I note that you have requested that the Attorney General sign the contract to signify his approval thereof. The Interlocal Cooperation Act does not provide for the Attorney General to become a signatory to contracts approved pursuant to the Act. This opinion is sufficient to signify the Attorney General's required approval.